Case 1:22-cv-01397-RGA Document 13 Filed 11/28/22 Page 1 of 9 PagelD #: 158

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE
DELTA HILL (DETA), Plaintiff

V.

Civil Action no.1: 22-cv-01397-RGA
STEPHEN KNOTT, WILLIAM ASHE
AND ILA,

Defendants

OBJECTION AND DISMISSAL OF ALL THREE DEFENDANTS MOTIO
DISMISS (ILA, WILLIAM ASHE AND STEPHEN KNOTT)

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Case 1:22-cv-01397-RGA Document 13 Filed 11/28/22 Page 2 of 9 PagelD #: 159

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OBJECTION AND DISMISSAL OF ALL THREE DEFENDANTS MOTION TO
DISMISS (ILA, WILLIAM ASHE AND STEPHEN KNOTT)

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TO WHOM IT MAY CONCERN AT THE DISTRICT COURT OF DELAWARE

IN CARE OF JUDGE RICHARD G. ANDREWS,

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| am filing this motion objecting to the defendants motions and
requesting that the honorable judge dismiss all three defendants
motions to dismiss. All three defendants, William Ashe, Stephen Knott
and The International Longshoremen’s Association motions are
baseless and have no merit as no one is above the law. For the
defendants and their counsel to say that an official of the local cannot
be held liable for their action is fabricated, misleading and undermining
of the court’s authority.

In their argument, the defendants and their counsel fail to acknowledge
that we the members of former 1694-1 and myself Delta Hill, who is
Case 1:22-cv-01397-RGA Document 13 Filed 11/28/22 Page 3 of 9 PagelD #: 160

merged into and has become an integral part of 1694, 1883 and 1884
since March 11, 2021, in the original charge we seek to adopt the ruling
of 1410 vs 1410-1 in 1987 case against the ILA and its officials in the
court of Mobile Alabama, who had a similar charge as we are facing
today with the International Longshoremen’s Association. However, we
would like to make it known to the honorable Judge Richard G.
Andrews who is presiding over this case, under the International
Longshoremen’s Association code of ethics preamble the defendants
and its counsel violated the code of ethics, not only in the motions but
throughout the entire case (case # 1:22-cv-01397-RGA). Please see a
copy of the code of ethics attached in full and in part.

| Deta Hill, and we the members of former 1694-1 who has merged into
and has become an integral part of 1694, 1883 and 1884 since March.
11, 2021, under case no. 1:22-cv-01397-RGA, would like to file this
motion asking the judge to impose a cease and desist order in this case
to the defendants William Ashe, Stephen Knott and The Internationa!
Longshoremen’s Association and their counsels Mazzola Mardon, P.c.
and O’Donohue and O’Donohue, LLP and G.T USA.

On September 12, 2022 there was an illegal action by the defendants
William Ashe, Stephen Knott, The ILA and G.T USA who tried to
unmerge our members out of three locals 1694, 1883 and 1884 that we
have become an integral part of all three locals. We the members
would like to correct a fabrication in one of the defendant’s motion. It
stated that we filed our charge on September 16, 2022, which is a
fabrication as we filed our charge on September 12, 2022. We would
also like to point out a second fabrication and defamation of character
Case 1:22-cv-01397-RGA Document 13 Filed 11/28/22 Page 4 of 9 PagelD #: 161

of the members of former 1694-1. On March 11, 2021, the
International merged local 1694-1 into local 1694, 1883 and 1884
because it was determined to be in the best interest of all ILA members
in the Port of Wilmington. Subsequently, the cause for the dissolution
has been stated to be that the merger has proved to be ineffective and
has been harmful to the [LA members in the Port of Wilmington.
Pertaining to the cause for dissolution the members are not at fault in
that regards as the members have been orderly and did their job
diligently with respect to the International and the employer. The
problem is with the appointee and not the members. The appointee,
William Ashe, who is the defendant and the vice president of the ILA
who is overseeing his own port with conflict of interest in implementing
division. We were suppose to merge and become one but he enforced
a division between the former members of 1694-1 and 1694, 1883 and
1884, as there is a certain authority that he holds over the merger and
over all the locals as the vice president of the International. He has
made it very hostile by telling members that they cannot seek work
within their craft within the port of Delaware. Based on what we were
told we have the right to seek job within the international. We were
also told that the hours would count as one, we were going to make
whole under the PMTA contract and receive the same health and
retirement package and we were suppose to fall entail underneath
these three locals....after their members go to work we would receive
jobs. Members have to go to Philadelphia to seek employment. He also
told the members and PMTA not to issue a casual card to members as
they would automatically be under the PMTA which was fabricated as
the members lost their opportunity to become a casual with PMTA
which they had the right to at the time. Please see PMTA-ILA benefits
Case 1:22-cv-01397-RGA Document 13 Filed 11/28/22 Page 5 of 9 PagelD #: 162

overview attached. This benefit is what we have become an integral
part of, anything less than this benefit package from the PMTA-ILA is
illegal. It is also a part of our remedy. So, for the members to be
blamed under the dissolution is fabricated, misleading, baseless, has no
merit and is with bad faith. This dissolution is a repeat of the
trusteeship that was imposed upon us and the former 1694-1 in 2016
that was overseen again by William Ashe who was a plaintiff in the case
to put it into trusteeship who was appointed by Stephen Knott, the
Secretary Treasurer to oversee his own port. The contract was also
negotiated by Lance Geren which was in bad faith, again. I, Delta Hill
and one of our members, brother Stanford Fowler who filed charges to
the International President Harold Daggett’s Office which John Sheridan
is his counsel and also the counsel for Stephen Knott and is aware of
our situation against the trustees after their bad faith contract. We
eventually had our hearing in Philadelphia in or around 2019 at the
District Council of Philadelphia where William Ashe and Witiw came
back to answer charges for a contract to which Lance Geren negotiated
where he placed “As” above “Bs” in entail and dovetail which was why
we endorsed it going into trusteeship to make the wrong right. The
International had its hearing to put it into trusteeship. In that hearing,
we were asked how many locals were under 1694-1 to which we told
them we have A’s and B’s and they told us its one union and they do
not have A’s and B’s. Ever since they have removed the “A’s” and “B’s”
from our local which the vice president, William Ashe was in
attendance yet allowed Lance Geren to negotiate with the governor of
Delaware to entail and dovetail “A’s” and “B’s.” We had MILA
insurance that covered members and their family but had it taken away
by GTUSA under the watchful eyes of the vice president William Ashe
Case 1:22-cv-01397-RGA Document 13 Filed 11/28/22 Page 6 of 9 PagelD #: 163

right in the pandemic, and gave us Blue Cross Blue Shield with “A’s”
getting full benefit and the “B’s” getting partial benefit. With the B’s
members, in order to have their family on the package they would have
to pay $400 to add their spouse and other family members which was
illegal under the constitution as the ILA states that any benefit the
member is getting extends to their family as well. That could show bad
faith against the members of former 1694-1. Here we go again with this
bad faith in the dissolution of members of former 1694-1. I, Delta Hill
was one who has been skipped over for many years. For many years |
have watched the junior men receive full benefits and | receive partial
benefits. Members who have less than five years of service were given
“A” job and were given full benefit and disregard my seniority of over
twenty five years. In that hearing, they removed the entail and dovetail
and told the officers of 1694-1 executive members at the time to go
and fix the list. Also in that hearing we also got equal work equal
benefit which was never implemented. It was brought up in that
hearing that we were supposed to be a part of PMTA and was told that
we needed 8000 hours and 8 years to get the container royalty, which
they turned to William Ashe and asked him “how was that coming
along?”, to which he replied “they are working on it” which was a
fabrication as nothing we were suppose to get was implemented. If
this statement is challenged we are asking the court to pull the
transcript from the hearing between sister Delta Hill and Brother
Stanford Fowler versus the trusteeship of former 1694-1 in or around
2019. In or around November of 2021, the former president of 1694-1,
fixed the seniority list to put back members in their rightful place so the
junior men go back to the year in which they started their seniority and
the senior members get their position where their seniority belong.
Case 1:22-cv-01397-RGA Document 13 Filed 11/28/22 Page 7 of 9 PagelD #: 164

Under the watchful eyes of the vice president of the International,
William Ashe, even with the merger we have not been made whole as
the junior members went behind with their benefits and the senior
members went ahead of them with their partial benefits since 2021
which is illegal and an unfair labor practice by the employer G.T USA
and the ILA. As a part of the remedy we the members would like to
make whole and retroact all our benefits from the moment we were
skipped over including from 2021. Also, remain in the local that we
were merged into, get our benefits through PMTA and not GT USA as
we object to be a private company union as we would want our
seniority and to be a full ILA member and not private company union
members which is in conflict of interest as GT USA is Delaware
Stevedores and have a contract with PMTA but denying us from being a
part of PMTA. All of this occurred under the watchful eyes of the vice
president of the ILA, William Ashe. We the former members of 1694-1
as an ILA member have made over 8000 hours and 8 years of unbroken
time and need to be compensated and grandfathered in with our pay
rate from the moment we started our seniority as an ILA. Also, receive
our contract starting from 2018 with GT USA and retroact all of our
benefits with back pay, retroact our annuity payment by PMTA and
revoke the MILA we have with the company and give us back the MILA
we had with PMTA from 2018.

The ILA and the Secretary Treasurer Office does not have the right to
unmerge members of a local under the constitution. It has the right to
merge, put into trusteeship and dissolve locals. Therefore, this action
by the defendant is illegal as all three rights that the secretary treasurer
had imposed upon us previously as we were put into trusteeship,
dissolved and merged into 1694, 1883 and 1884 and become an
Case 1:22-cv-01397-RGA_Dees@@Mts Filed 11/28/22 Page 8 of 9 PagelD #: 165

   

integral part of all three locals. As of today’s date, they are MOVINg
forward with this new local 2076 and are planning to vote in the local in
the near future because they told the members that they have no
choice when members questioned the validity of their action. They are
also carrying out part of our case that we appealed and were never
given a fair, free and democratic response to our appeal of the contract
that they had voted upon illegally which we the members appealed in
April of 2022 but was never given any rights to our hearing that is a part
of this case. They have given members financial bribe in the case of
signing bonus in the sum of two thousand dollars ($2000), which is
illegal as we already were a part of G.T USA who adopted us in 2018
underneath the state which we did not receive any benefits from G.T
USA unlike 1694, 1883 and 1884 who was made whole in 2018.

However, 1694, 1883 and 1884 merged in 2018 with 1694-1 under G.T
USA to which they had to receive a number system which we have in
order to become a part of us. The $2000 that they gave to the
members, it was voted upon underneath the contract that we appealed
and that contract was between 1694, 1883 and 1884 on behalf of the
former members of 1694-1 who were merged into their local 1694,

1883 and 1884, which took away three years of our benefits by starting
this contract in 2021-2024 when we actually should have gotten a
contract from 2018 and not 2021, Under the NLRB subsection 158A, the
employer cannot acknowledge a new local or union as long as one is
already established, you must negotiate with the union that already
exists. Under the constitution, the Secretary Treasurer Office have the
right to give contract, so the defendant, Knotts could have given usa
contract equal to 1694, 1883 and 1884 but chose not to do so but gave
it to William Ashe the defendant who has made it clear in a meeting
Case 1:22-cv-01397-RGA Document 13 Filed 11/28/22 Page 9 of 9 PagelD #: 166

that “he did not want the merger as he has been fighting it for seven
years.” It is very evident that he did not want it, that’s why he is giving
us the local 2076 and dissolute members and not locals which are
unconstitutional as no part of the constitution says that they can
dissolve members. It has given them the right to dissolute locals. So, we
the members are asking the honorable judge to dismiss their motion on
this case while it is in front of the court and to enforce article XXIII,
section 1-7 of the constitution.

We the members of former 1694-1 have adopted the case of 1410-1 v
1410 in the District court for the Southern District of Alabama in 1987.
